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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


JONATHAN D. GIBSON,                                     CIVIL NO. 13-1310 (DSD/JSM)

         Plaintiff,

v.                                                      ORDER

CONSUMER PORTFOLIO
SERVICES, INC., DOES 1-10,
and MS. STEWART,

         Defendants.


         The above matter came on before the undersigned upon plaintiff’s August 26,

2013 filing of an Amended Complaint [Docket No. 15].

         The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, now makes and enters the following Order:

         IT IS HEREBY ORDERED that plaintiff’s August 26, 2013 filing of an Amended

Complaint [Docket No. 15] is DENIED for failure to comply with Fed. R. Civ. P. 15(a).

The Clerk of Court is directed to strike the Amended Complaint [Docket No. 15].


Dated:           August 30, 2013

                                          s/ Janie S. Mayeron
                                          JANIE S. MAYERON
                                          United States Magistrate Judge
